Case: 2:18-cv-00966-EAS-EPD Doc #: 28 Filed: 10/04/18 Page: 1 of 1 PAGEID #: 177

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

SCHMITT, ef al.,
Plaintiffs,
Case No, 2:18-cy-966

Vv. Chief Judge Edmund A. Sargus, Jr.
Magistrate Judge Elizabeth Preston Deavers

HUSTED, et ai.,
Defendants.

ORDER
This matter came before the Court because of a telephone status conference held on
October 4, 2018. During the conference, the parties discussed the status of the temporary
restraining order (ECF No. 22) that the Court ordered on September 19, 2018. By agreement of
the parties, the Court CONVERTS that temporary restraining order to a preliminary injunction,

which expires on November 7, 2018. Additionally, the parties will adhere to the following:

° The Court cancels the preliminary injunction hearing scheduled for October 16,
2018, at 9:00 a.m.;
e Defendants shall file a brief on the constitutionality of the Ohio laws at issue in

this case on or before November 4, 2018;
° Plaintiffs shall respond on or before December 4, 2018;
° Defendants shall reply on or before December 14, 2018; and
* The Court will hold Oral Argument on December 18, 2018, at 10:00 a.m,

IT IS SO ORDERED.

O- Y~aD Ig A

Zé
DATE EDMUNDA. SARGUS, JR.
CHIEF TED STATES DISTRICT JUDGE

